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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JAMES HAYES et al.,
Plaintiffs,

:14-cv-258
:16-cv-311

Civil Action Nos.

Ld Go

DELBERT SERVICES CORP. et al.,
Defendants.

ORDER

This matter comes before the Court on its own initiative. The Court has before it two
cases that arise from the same common nucleus of facts and assert claims against similar
defendants: Hayes et al. v. Delbert Services Corp. et al. (No. 3:14-cv-258); and White et al. v.
CashCall, Inc. (No. 3:16-cv-311). Given these similarities, the Court DIRECTS the Clerk to
CONSOLIDATE these cases for all purposes under Hayes et al. y. Delbert Services Corp. et al.
(No, 3:14-cv-258). The parties should file all future pleadings under Hayes et al. v. Delbert
Services Corp. et al. (No. 3:14-cv-258).!

It is so ORDERED.

Let the Clerk send a copy to all counsel of record.

 

 

 

 

 

Date: July 1, 2016 Is/ he ]
Richmond, Virginia John A. Gibney, Jr. if.
United States Distyict Judge
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' This includes the responsive pleading due by July 8, 2016, based on the complaint in White et
al. v. CashCall, Inc. (No. 3:16-cv-311).
